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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
Plaintiff,                            §                   Case No: 20-262 -RGA
                                      §
vs.                                   §                   PATENT CASE
                                      §
AVA ENTERPRISES, LLC                  §
                                      §
Defendant.                            §
_____________________________________ §

                                 ORDER OF SUBSTITUTION

       The Court has considered Plaintiff Display Technologies, LLC’s Unopposed Motion to

Substitute Parties. The Court is of the opinion that the Motion to Substitute Parties should be

GRANTED.

       IT IS THEREFORE ORDERED that Ava Enterprises, Inc. is substituted for Ava

Enterprises, LLC. as the defendant in this action; and

       IT IS FURTHER ORDERED that the Clerk of the Court is directed to reflect this change

in the caption on the Court’s docket by adding Ava Enterprises, Inc. as the defendant and

removing Ava Enterprises, LLC. as a party to this case.

       SO ORDERED this 1 day of April, 2020
        /s/ Richard G. Andrews
        United States District
        Judge
